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8                            UNITED STATES DISTRICT COURT
9                          CENTRAL DISTRICT OF CALIFORNIA
10
                                                 ) Case No. CV 19-08146-DMG (JCx)
11    MIRNA ELIZABETH MARTINEZ                   )
                                                 )
12    BARRERA,                                   ) JUDGMENT
                                                 )
13                             Plaintiff,        )
                                                 )
14                v.                             )
                                                 )
15    COSTCO WHOLESALE                           )
                                                 )
16    CORPORATION,                               )
                                                 )
17                             Defendant.        )
18
19          This Court having granted Defendant Costco Wholesale Corporation’s Motion for
20    Summary Judgment by Order dated October 22, 2021,
21          IT IS ORDERED, ADJUDGED AND DECREED that judgment is entered in
22    favor of Defendant and against Plaintiff Mirna Elizabeth Martinez Barrera.
23
24    DATED: October 22, 2021
25                                                            DOLLY M. GEE
26                                                    UNITED STATES DISTRICT JUDGE
27
28



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